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                                                                          United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                              September 11, 2018
                        UNITED STATES DISTRICT COURT
                                                                              David J. Bradley, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                            GALVESTON DIVISION

TEXAS DEPARTMENT OF CRIMINAL §
JUSTICE,                      §
                              §
       Plaintiff,             §
VS.                           § CIVIL ACTION NO. 3:17-CV-1
                              §
FOOD AND DRUG ADMINISTRATION, §
et al,                        §
                              §
       Defendants.            §

                                        ORDER

       The Court has set a status conference for September 13, 2018. The FDA has filed

an unopposed motion to continue that status conference for 90 days. That motion (Dkt.

66) is GRANTED. The Court will notify the parties of the new date and time.

       The Court has now rescheduled the status conference three times; two of those

continuances have been for 90 days. Absent extraordinary circumstances, no further

continuances of the status conference will be granted.

       The pending motion to lift the stay and order a briefing schedule (Dkt. 53) is

DENIED without prejudice to refiling.

       SIGNED at Galveston, Texas, this 11th day of September, 2018.


                                           ___________________________________
                                           George C. Hanks Jr.
                                           United States District Judge




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